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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MARYLAND

     JASON SMITH                                 *

             Plaintiff                           *

     Vs.                                         *      CIVIL ACTION No.:

     CENTURY CDJR, INC.                          *      1:20-CV-02153 SAG

             Defendants                         *
             *     *         *    *      *      *    *          *        *      *      *       *
                                                ORDER

             HAVING CONSIDERED, Defendant’s Motion to Dismiss, and after reviewing any and all

     response thereto, IT IS, this _____ day of _______________, 2020,

             HEREBY ORDERED, that the Motion is GRANTED, and that the Plaintiff’s Complaint is

     dismissed with prejudice.



                                                 _____________________________________
                                                 United States District Court for the District of
                                                 Maryland



     Copies To:
     Plaintiff and
     All Counsel of Record




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